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              EXHIBIT F
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                                                1 MAG
 UNITED STATES DISTRICT COURT
                                                                                     3
 SOUTHERN DISTRICT OF NEW YORK

   In the Matter of a Warrant for All
   Content and Other Information
   Associated with the iCloud Account
   with Apple ID -           Maintained
   at Premises Controlled by Apple Inc.,
   USAO Reference Nos.
   and


                                     SEARCH WARRANT

TO:     Apple, Inc. ("Provider")

        United States Attorney's Office for the Southern District of New York and Federal Bureau
        of Investigation (together, the "Investigative Agencies")

        1. Warrant. Upon an affidavit of DeLeassa Penland, Special Agent with the United States

Attorney's Office for the Southern District of New York, and pursuant to the provisions of the

Stored Communications Act, 18 U.S.C. § 2703(b)(l)(A) and § 2703(c)(l)(A), and the relevant

provisions of Federal Rule of Criminal Procedure 41, the Court hereby finds there is probable

cause to believe the Apple iCloud account associated with the Apple ID                  maintained

at premises controlled by Apple Inc., contains evidence, fruits, and instrumentalities of crime, all

as specified in Attachment A hereto. Accordingly, the Provider is hereby directed to provide to

the Investigative Agencies, within 14 days of the date of service of this Wanant and Order, the

records specified in Section II of Attachment A hereto, for subsequent review by law enforcement

personnel as authorized in ection III of Attachment A. The Government is required to serve a

copy of this Warrant and Order on the Provider within seven days of the date of issuance. The

Warrant and Order may be served via electronic transmission or any other means through which

the Provider is capable of accepting service.




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             2. Sealing. It is fmther ordered that this Wan-ant and Order, and the Affidavit upon which

it was issued, be filed under seal, except that the Government may without fmther order of this

Comt serve the Warrant and Order ori the Provider; provide copies of the Affidavit or Wmrnnt and

Order as need be to personnel assisting the Qovemment in the investigation and prosecution of

this matter; and disclose these materials as necessary to comply with discovery and disclosure

obligations in any prosecutions related to this matter.

Dated: New York, New York



                                          Time Issued


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                                                     HON. PAUL G. GA... WEPHE
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                                                     UNITED STATES t n's,TRJC:T JUDGE     1

                                                     SOUTHERN DISTRJCT,OF NEW YORK




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                                                 Attachment A

 I.       Subject Account and Execution of Warrant

              This wan-ant is directed to Apple Inc. ("Apple" or the ''Provider"), headquartered at

      1 Infinite Loop in Cupertino, California, and applies to all content and other information within

      the Provider's possession, custody, or control associated with the Apple iCloud account for the

      Apple                   the "Subject Account"). A law enforcement officer will serve this wmrnnt

      by transmitting it via email or another appropriate manner to the Provider. The Provider is directed

      to produce to the law enforcement officer an electronic copy of the information specified in

      Section Il below. Upon receipt of the production, law enforcement personnel will review the

      information for items falling within the categories specified.in Section Ill below.

II.      Information to be Produced by the Provider

              To the extent within the Provider's possession, custody, or control, the Provider is directed

  to produce the following information associated with the Subjec~ Account from March 1, 2018

  through March 26, 2019:

              To the extent within the Provider's possession, custody, or control, the Provider is directed

  to produce the following information associated with the Subject Account:

                     a. Message content. All messages sent to or from, stored in draft form in, or

  otherwise associated with the Subject Account, including all message content, attachments, and

  header info1mation (specifically including the source and destination addresses associated with

  each message, the date and time at which each message was sent, and the size and length of each

  message).

                     b. Images and videos. All pictures and videos posted and/or stored by an

  individual using the account, including metadata and geotags.




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               c. Address book information. All friend list, address book, contact list, or similar

information associated with the Subject Account.

               d. Other stored electronic information. All records and other information stored

by the Subject Account's user, including data from third-party apps.

               e. Subscriber and paynient information. All subscriber and payment information

regarding the Subject Account, including but not limited to name, username, address, telephone

number, altemate email addresses, registration lP address, account creation date, account status,

length of service, types of services utilized, means and source of payment, and payment history.

               f.   Transactional records. All transactional records associated with the Subject

Account, including any lP logs or other records of session times and durations.

               g. Customer correspondence. All correspondence with the subscriber or others

associated with the Subject Account, including complaints, inquiries, or other contacts with

suppo1t services and records of actions taken.

               h. Find My iPhone and Remote Deletion Activity: All find My iPhone connection

logs and Find My iPhone transactional activity for requests to remotely lock or erase or wipe a

device.

               i.   Device Backups. All versions of iOS device backups associated with or stored

within the Subject Account, whether made manually or automatically.

               j.   Preserved records. Any preserved or backup copies of any of the foregoing

categories of records, whether created in response to a preservation request issued pursuant to 18

U.S.C. § 2703(f) or otherwise, including data preserved pursuant to a request assigned the

reference numbe




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                          1<. Encryption keys. Any and all "keybag" and "FilelnfoList.txt" files associated

       with any device backups in the Subject Account.

III.       Review of Information by the Government

                   Law enforcement personnel (who may include, in addition to law enforcement officers and

       agents, attorneys for the government, attorney suppoli staff, agency personnel assisting the

       government in this investigation, and outside vendors or technical expe1ts under government

       control) are authorized to review the records produced by the Provider (a) for the time period of

       on or about August 1, 2018 through March 25, 2019, in order to locate any evidence, fruits, and/or

       instrumentalities of violations of 18 U .S. C. §§ 875(d) ( transmitting interstate communications with

       intent to extort) and 1951 (extortion), and a conspiracy and/or attempt to commit the same, arising

      from a scheme in which MICHAE L A VENATII and                                             used interstate

      communications and threats of economic harm in an attempt to obtain payments from

                                          or about March 2019 (collectively, the "Exto1tion Offenses") and

      (b) for the time period of on or about March 1, 2018 through February 28, 2019, in order to locate

      any evidence, fruits, and/or instrumentalities of violations of 18 U.S.C. §§ 1028.A (aggravated

      identity theft), 1341 (mail fraud), 1343 (wire fraud), 1956 (money laundering), and 1957 (engaging

      in monetary transactions in property derived from specified unlawful activity), and an attempt to

      commit the same, relating to a scheme executed by A VENA.TI! between in or about March 2018

      and February 2019 to defraud one of his then-clients,

      -                 including by creating a document ostensibly "signed" by                   irecting that

  -                   iterary agent send significant payments to A VENATII instead of ~                 ithout

  ~                   ermission (collectively, the "Fraud Offenses"), including as follows:

                         f.   Evidence concerning the identity or location of the owner or use of the Subject

      Account, such as internet protocol address or other similar information associated with logins,

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registration info1mation, default signatme, textual references to the name or identity of the user of

the device, textual references to the past, present, or future location of the user of the device, self-

taken photographs, and communications with Apple concerning the Subject Account.

                g. Evidence of communications or documents involving

any of its employees, agents, or representatives,

                                                        relating to the commission of the Extortion

Offenses, sue 1 as text messages or ema1 s            etween AVENATTI, -                   and -

employees, agents, or representatives, that 1·elate to demands for payments; allegations concerning

wrongdoing by -        or its employees; or threats to publicize alleged wrongdoing by             r its

employees.

               h. Evidence relating to payments to or from

                                                              or their agents or legal representatives,

including any documentation concerning payments o                  s book advance fro

                                             and any communications related to such payments,

relating to the commission of the Fraud Offenses, such as text messages or emails concerning the

advance payments associated with              s book.

               i.   Evidence of communications with or regarding

                                       or their agents or legal representatives, including · any

communications concerning payments to AVENATTI or                     , relating to the commission of

the Fraud Offenses, such as text messages or emails concerning                   s book contract, the

advance payments associated with             's book, or the publicity efforts and sales of -        's

book.




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                   j.   Evidence of deposits, withdrawals, wire transfers, and other movements of

 money between bank accounts; communications concerning financial transactions, including with

financial institutions; and financial records concerning the existence, disposition, transfer, and

movement of money and other assets, such as copies of bank statements, email communications

with financial institutions, or lists of assets or transactions.

                                                  * * *
             Review of the items described in this Attachment shall be conducted pursuant to

established procedures designed to collect evidence in a manner reasonably designed to protect

any attorney-client or other applicable privilege (to the extent not waived). When appropriate, the

procedures shall include use of a designated "filter team," separate and apart from the investigative

team, in order to address potential privileges.




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